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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA




                   IN THE UNITED STATES DISCTRIC COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
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NANCY D. TURNER                                )
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           Plaintiff,                          )
                                               )
v.                                             )      Case No.: C)!l-(V-JIV-A-~
                                               )
ALABAMA AGRICULTURAL                           )
AND MECHANICAL UNIVERSITY                      )
                                               )
           Defendant.                          )

                                    COMPLAINT

      I.      INTRODUCTION

      1. This is an action for declaratory judgment, equitable relief, and money

damages, instituted to secure the protection of and to redress the deprivation of rights

secured through Title VII of the Civil Rights Act of 1964, as amended by the Civil

Rights Act of 1991, 42 U.S.C. § 2000(e) et. seq. ("Title VII"), which provides for

relief against discrimination in employment on the basis of sex and race and

prohibits retaliation, and 42 U.S.C. § 1981, which provides for relief against

discrimination in employment on the basis of sex and prohibits retaliation. Plaintiff

seeks compensatory damages, punitive damages, equitable relief, costs, attorney's

fees, and requests a jury trial pursuant to 42 U.S.C. §§ 198l(a) and 1988.

II.        JURISDICTION AND VENUE
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       2.    Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331,

1343(a)(3), 1343(a)(4); 28 U.S.C §§ 2201 and 2202; and 42 U.S.C. § 2000(e) et. seq.

       3.    The unlawful employment practices alleged herein were committed by

the Defendants within Madison County, the State of Alabama. Venue is proper in

this Court pursuant to 28 U.S.C. § 139l(b) and 42 U.S.C § 2000e-5(g).

       4.    Plaintiff requests a jury trial on all issues pursuant to 42 U.S.C. §

1981 (a) and the Seventh Amendment of the Constitution of the United States.

III.   PARTIES

       5.    Plaintiff, Nancy D. Turner, is a female citizen of the United States and

a resident of Madison County, Alabama. Plaintiff was employed by Defendant

Alabama Agricultural and Mechanical University ("AAMU") at all times relevant

to this Complaint.

       6.    Defendant, AAMU is an university located in Normal, Alabama, and is

an employer within the meaning of 42 U.S.C. 2000e(a) & (b). At all times relevant

to this action, AAMU has employed at least fifteen (15) or more employees and

maintained operations in the Northern District of Alabama.

IV.    EXHAUSTION OF ADMINISTRATIVE REMEDIES

       7.   Plaintiff filed two charges of employment discrimination with the

Equal Employment Opportunity Commission ("EEOC"); charge #420-2016-02826

and #420-2017-00321, in which she complained that Defendant AAMU
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    discriminated against her on the basis of her race and sex and for retaliatory

discharge.

          8.      Plaintiffs first charge (420-2016-02826) was filed on or about July 20,

2016. A copy of the charge is attached hereto as Exhibit "A." Plaintiffs second

charge (420-2017-00321) was filed on or about November 16, 2016. A copy of the

charge is attached hereto as Exhibit "B." Both charges are incorporated by reference

as if expressly set forth herein.

         9.    Plaintiff received her "Notice of Right to Sue" regarding charge #420-

2016-02826 from the EEOC on or about September 21, 2017, a copy of which is

attached hereto as Exhibit "C" and is incorporated by reference as if expressly set

forth herein 1•

         10.   Plaintiff has fulfilled all conditions precedent to the institution of this

action pursuant to Title VII.

         11.   Plaintiff has filed suit within 90 days of receipt of her Notice of Right

to Sue dated September 21, 2017 and received on or about September 24, 2017.

V.       STATEMENT OF FACTS




I
  Plaintiff has not received her Notice of Right to Sue related to Charge #420-2017-00321 as of
the date of this filing.
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       12.   Turner, who is an African-American female, was first hired by AAMU

in February of2005 as a dispatcher in the University's Department of Public Safety

("DPS"). In July 2006, Turner became a campus police officer for AAMU.

       13.   In 2009, Plaintiff was subjected to a no-cause termination of her

employment as an AAMU police officer.

       14.   In 2011, Turner reapplied and was rehired as a police officer by

AAMU. In 2013, Turner was promoted to Sergeant.

       15.   The order of authority for ranked police officers at AAMU, from lowest

to highest rank, is sergeant, lieutenant, captain, and chief.

       16.   During Turner's tenure as an AAMU police sergeant, Amard Martin,

an African-American male, was the captain of the AAMU DPS.

       17.   Amongst other things, Turner, as an AAMU police sergeant was

responsible for supervising police officers and other department employees in

enforcement of local, state, and federal laws and in the provision of personal, real

property, and equipment security throughout campus as well as supervising

investigation and documentation of crimes and incidents.

       18.   AAMU also employs non-ranked patrol officers and investigators.

Non-ranked patrol officers and investigators are not in line for ranking or oversight

of ranked officers.
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       19.   During Turner's second tenure of employment at AAMU, investigators

were responsible for investigation felonies and misdemeanors that require extended

investigations. The investigators worked under the guidance and discretion of the

Executive Director of Public Safety and supervised criminal investigations and other

investigators as assigned by the Executive Director of Public Safety.

      20.    On August 15, 2011, AAMU DPS hired Brian Ruble, a Caucasian male,

as an investigator.

      21.    Ruble's position as an investigator was a non-ranked position. Ruble

had no supervisory authority over Turner or any other police sergeant.

      22.    As a sergeant with AAMU's DPS, Turner was ranked higher than

Ruble, an investigator.

      23.    Mid-year 2015, Ruble left AAMU's DPS.

      24.    Ruble returned to AAMU's DPS in November or December of 2015.

      25.    Upon his return, Ruble continued to work as an investigator.

      26.    Upon information and belief, on or about June 27, 2016, AAMU's

Interim Vice President for Student Affairs, Gary B. Crosby, requested that Ruble, a

non-ranked investigator who had recently returned to DPS, be promoted to Captain

of Administration.

      27.    At the time of Crosby's request, there were no Lieutenants and five

Sergeants, including Turner, in AAMU's DPS.
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      28.    At the time of Crosby's June, 27, 2016 request, AAMU had not

previously had a Captain of Administration and Captain Martin was already serving

as the single captain for AAMU's DPS.

      29.    The Captain of Administration position was a new position at AAMU.

      30.    On or about July 5, 2016, Ruble was named Captain of Administration

for AAMU's DPS.

      31.    The Captain of Administration position was not posted or advertised by

AAMU for any period of time.

      32.    Turner would have applied for the Captain of Administration position

ifit had been posted and advertised by AAMU.

      33.    Turner complained to the Acting Chief, JesHenry Malone, an African-

American male, and Captain Martin regarding AAMU's failure to post a vacancy

for the Captain of Administration position and consider her for the promotion.

      34.    Turner believes she was discriminatorily denied the promotion to

Captain of Administration by AAMU because of her race, African-American, and

her sex, female.

      35.    When Ruble was an investigator and not in Turner's chain of command,

beginning in 2015, Turner noticed that Ruble regularly interfered in her undertaking

of her duties and the duties of other officers, regularly demanded to know what

Turner was doing in the undertaking of her duties, questioned Turner about her work,
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questioned Turner's authority to perform certain tasks, and advised Turner that she

needed to keep him informed about her work.

      36.   Ruble continued his harassing conduct when he became the Captain of

Administration and one of Turner's supervisors.

      37.   Turner believes Ruble harassed and created a hostile environment for

her because she is a female and because she is African-American.

      38.   Turner made multiple written complaints to Captain Martin, both

before and after Ruble was promoted to Captain, about Ruble's continued

harassment, creation of a hostile work environment, and discrimination.

      39.      Turner told Chief Malone that she was going to file a charge of

discrimination because of Ruble's continued creation of a hostile work environment,

harassment, and discrimination. Turner filed a Charge of Discrimination with the

EEOC on July 20, 2016.

      40.      Following her filing of a July 29, 2016 written complaint about Ruble,

Turner was summoned to AAMU's Human Resources office to meet with Cassandra

Tarver-Ross.

      41.      During the meeting, Tarver-Ross told Turner that Ruble was now her

supervisor. Turner agreed and requested that something be done to encourage Ruble

to stop harassing her and creating a hostile environment.
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      42.    AAMU took no action to stop Ruble's harassing conduct and to end his

creation of a hostile work environment.

      43.    On September 16, 2016, less than sixty (60) days after Turner's last

written complaint, and her discussions with Tarver-Ross and Chief Malone, AAMU

notified Turner that her employment was being terminated for no cause.

      44.    Turner believes she was wrongfully terminated in retaliation for her

complaints of harassment, hostile work environment, and discrimination.

      45.    Defendant has intentionally discriminated against Plaintiff with total

disregard for her protected rights.

               COUNT I-TITLE VII SEX DISCRIMINATION

      46.    Plaintiff realleges and incorporates by reference Paragraphs I through

45 above as expressly set forth herein.

      47.    Defendant AAMU has engaged in intentional discrimination against

Plaintiff on the basis of her gender in violation of Title VII.

      48.    Defendant AAMU subjected Plaintiff to unequal treatment regarding

the term, conditions, and privileges of her employment on the basis of her gender,

in willful and with malicious and reckless disregard for the rights of Plaintiff.

As a proximate result of Defendant's wrongful conduct, Plaintiff has been injured

and damaged as follows: she has suffered extreme mental and emotional distress,
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pain and suffering, humiliation and loss of enjoyment of life, lost wages, and

benefits.

       COUNT II - TITLE VII AND § 1981 RACE DISCRIMINATION

      49.    Plaintiff realleges and incorporates by reference Paragraphs 1 through

48 above as expressly set forth herein.

       50.   Defendant AAMU has engaged in intentional discrimination against

Plaintiff on the basis of her race in violation of Title VII and 42 U.S.C. § 1981.

       51.   Defendant AAMU subjected Plaintiff to unequal treatment regarding

the term, conditions, and privileges of her employment on the basis of her race, in

willful and with malicious and reckless disregard for the rights of Plaintiff.

As a proximate result of Defendant's wrongful conduct, Plaintiff has been injured

and damaged as follows: she has suffered extreme mental and emotional distress,

pain and suffering, humiliation and loss of enjoyment of life, lost wages, and

benefits.

             COUNT III-TITLE VII AND§ 1981 RETALIATION

       52.   Plaintiff realleges and incorporates by reference Paragraphs 1 through

51 above as expressly set forth herein.

       53.   Defendant AAMU took adverse employment action against Plaintiff

because of Plaintiffs internal complaints and filing of an EEOC Charge. Defendant

had knowledge of the complaints and Plaintiffs filing of an EEOC Charge and
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engaged in retaliatory conduct, which began close in time to when Defendant

AAMU became aware of Plaintiffs protected conduct.

       54.      As a proximate result of Defendant's retaliation, Plaintiff has been

injured and damaged as follows: she has suffered extreme mental and emotional

distress, pain and suffering, humiliation and loss of enjoyment of life, lost wages,

and benefits.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that this Court will assume

jurisdiction in this action and after trial:

       (A)      Issue a declaratory judgment that the employment policies, practices,

       procedures, conditions, and customs of the Defendant is violative of the rights

       of Plaintiff as secured by Title VII and § 1981.

       (B)      Grant Plaintiff an Order requi1ing Defendant to make Plaintiff whole

       by reinstating her employment as a police sergeant with AAMU's DPS.

       (C)      Grant Plaintiff an Order requiring Defendant to make Plaintiff whole

       by promoting Plaintiff to Captain or any other appropriate promotion.

       (D)      Award Plaintiff back pay, front pay, compensatory damages, attorney's

       fees, costs, and expenses.

       (E)      Award Plaintiff punitive damages.

       (F)      Grant such other and further relief as the cause of justice requires.
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     Respectfully submitted this 20 11, day of December, 2017:




PLAINTIFF DEMANDS TRIAL BY STRUCK JURY AS TO ALL CLAIMS
                   TRIABLE BY JURY



Defendant's Address:
Alabama A&M University
P.O. Box 1357
Nonna!, AL 35762


This document was prepared with the assistance of a licensed Alabama lawyer
pursuant to Rule 1.2(c), Alabama Rules of Professional Conduct.
